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                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                       EUGENE DIVISION



 NICHOLAS JAMES MCGUFFIN, as an                                   Case No. 6:20-cv-01163-MTK
 individual and as guardian ad litem, on behalf                                    (Lead Case)
 of S.M., a minor,
                                                                                         ORDER
           Plaintiffs,

    v.

 MARK DANNELS, et al.,

           Defendants.


 NICHOLAS JAMES MCGUFFIN, as an                                   Case No. 3:21-cv-01719-MTK
 individual and as guardian ad litem, on behalf                                  (Trailing Case)
 of S.M., a minor,

           Plaintiffs,

    v.

 OREGON STATE POLICE,

           Defendant.



KASUBHAI, United States Magistrate Judge:

         Plaintiff Nicholas James McGuffin, as an individual and as guardian ad litem on behalf of

his minor daughter, S.M. (“Plaintiffs”), bring this civil rights action against Defendants. Second

Am. Compl. (“SAC”), ECF No. 143. On November 20, 2024, the Court held a status conference


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by video. Based on the parties’ written submissions, arguments presented in court, and for the

reasons stated on the record, the Court Orders the following:


I.      The parties’ request to extend the expert damages discovery deadline is GRANTED.

        Deadline to complete depositions of all experts, not otherwise addressed in this order, is

        12/13/2024.



II.     Municipal Defendants’ request to extend the deadline for discovery of an expert report as

        discussed on the record is GRANTED. Municipal Defendants may submit one additional

        expert report as discussed on the record. Plaintiffs shall have the opportunity to submit a

        rebuttal report and depose the Municipal Defendants’ expert. After Plaintiffs receive the

        report, the parties shall confer and determine, if necessary, the time to take the expert’s

        deposition. The timing of the deposition is not confined to the 12/13/2024 deadline.



III.    Defendant Vidocq Society’s request to extend the deadline for rebuttal experts to

        conduct an independent medical examination of Plaintiffs is DENIED as MOOT.



IV.     State Defendants’ Request to extend the deadline to file motions for summary judgment

        is GRANTED. Deadline for filing dispositive motions is extended to January 7, 2025.

        Responses to summary judgment motions will be due by February 18, 2025. Replies

        will be due by March 11, 2025. All parties are permitted to exceed the LR 7-2(b) page

        limit and may file a dispositive motion or a response totaling fifty (50) pages including

        headings, footnotes, and quotations, but excluding the caption, table of contents, table of

        cases and authorities, signature block, exhibits, and any certificates of counsel. Each



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      group of Defendants (e.g., State Defendants) shall only file a single motion for summary

      judgment addressing all issues.

     IT IS SO ORDERED.

     DATED this 27th day of November 2024.


                                                  s/ Mustafa T. Kasubhai
                                                  MUSTAFA T. KASUBHAI (He / Him)
                                                  United States District Judge




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